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        EXHIBIT 83
    FILED UNDER SEAL
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  Message
  From:
  on behalf of    Ken Babcock [                   ]
  Sent:          3/4/2016 4:18:10 PM
  To:            ATC Competitive Intelligence [                        ]
  CC:            Jamie Epifano [                      ]; Justin Ho [                    ]; Aaron Melville [                                                                                           ]
  Subject:        [ATC] Competitive Intelligence Update: Week Ending 03/04/2016- A/C Privilege




  Attorney Client Privilege




                              Redacted
  For this week's links and all past deep dives, please view the deck

        Week of 03/04/2016 Deep Dive: Goog!e Monthly Reports Attorney I Client Privilege




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                                                                           Febrwar,, 20"16 !nsights (Unk)

                                                                             -+   Google has driven 1,452,177 autonomous miles since 2009
                                                                             4    The Fleet is comprised of 23 Lexus RX450h SUVS and 33
                                                                                  Google-develaped prototypes

                                                                           Accident Report
                                                                             -+   Occurred on 2114 on El Camino Real
                                                                             -+   Recently programmed "right-lane hugging" intelligence for
                                                                                  right tums was upstream problem
                                                                             -+   Vehicle detected sandbags and tried to move back into the
                                                                                  center lane, expecting a bus to yield, bus did not yield




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   KEY POINTS
         •    Changing lanes at 2 mph, a Google self-driving Lexus SUV driving in autonomous mode collided with a bus moving at 15
              mph due to a sensor misinterpretation of sandbags around a storm drain
         •    Following colleague Jim Keller, fom1er Apple Director Peter Barmon will join Tesla Motors. Both Keller and Bannon
              helped develop the A4 and A5 chipsets that powered iPhones from 2010 to 2012
         •    Apple secures lease of 96.000 square foot former Pepsi bottling plant in Sunnyvale, CA
         •    Volkswagen Group is plarming to launch 20 electric vehicles across its brands by 2020, aided by 'Future Centers' in
              China, California. and Gennany
         •    Ford will head to downtown Phoenix streets to test urban environments and scenarios in Summer 2016
         •    Faraday Future Chief Battery Architect Porter Harris, referred to as 'the battery', quit this January
         •    MIT Technology Review names Tesla's Autopilot a Top 10 'Breakthrough Technology' for 2016
         •    General Motot·s executives announced that car-sharing service, Maven. will be available to everyone (not just students) in
              Ann Arbor to utilize 35 cars ranging in price from $6-$12 per hour
         •    Zipcar claims to be "in the mix as much as anyone could be" on self-driving cars. In the past, Zipcar has worked with
              Ford, GM, and Toyota




  Go ogle
     •       Google's self-driving car technology at fault for first time in accident with bus: Changing lanes at 2 mpl:t a self-driving
             Lexus SUV driving in autonomous mode collided with a bus moving at 15 mph. The 2/23 accident occurred when the
             vehicle's sensors detected sandbags around a storm drain. stopping the car in its tracks. No injures were reported, but damage
             was caused to the Google car's fender (Source- Wired).
     •       Tampa Bay eyed as next location for self-driving car testing: Presenting to the Tampa Bay Regional Transportation
             Authority, the Florida DOT stated that Google's self-driving car testing would be coming to Tampa, and that self-driving cars
             would have eventual implications on infrastructure (Source- Biz Journals).
     •       Google-funded Sidewalk Labs working alongside 10 cities to win grant for revamping transportation infrastructure:
             Sidewalk Labs is providing 'real-time data' to 10 cities to understand their daily traffic activity as the cities vie for a federal
             grant of $40M to transfom1 transportation (.S'ource - The Verge) (Full List).




  Apple
     •       Apple secures lease of 96,000 square foot former Pepsi bottling plant in Sunnyvale, CA: The Silicon Valley Business
             Journal announced on 3/1 a lease signed in November for an additional Apple Sunnyvale office, which many speculate will
             be used as a facility for 'Project Titan' (,':;ource- Business Insider).
     •       Fiat Chrysler CEO advises Apple, technology companies to partner with car makers: Sergio Marchiom1e, CEO of Fiat
             Chrysler, compared an in-house Apple car to an illness, saying, "If they have any urges to make a car, I'd advise them to lie
             down and wait until the feeling passes" (Source- Streetwise Journal).
     •       Apple Director takes chip-making experience to Tesla, joins former colleague: Following colleague Jim Keller, fom1er
             Apple Director Peter Bannon will join Tesla Motors. Both Keller and Barmon helped develop the A4 and A5 chipsets that
             powered iPhones from 2010 to 2012 (Source- Bidness ETC).




  Audi I Volkswagen
     •       'Future Centers' in China, California, and Germany to design 'car of the future': VW is plarming to launch 20 electric
             vehicles across its brands by 2020, aided by 'Future Centers' (.S'ource- Contract Hire and Leasing).
     •       Volkswagen CEO commits to investment to bring self-driving cars to market the fastest: VW Group CEO Matthias
             Mueller confirmed investment in autonomy to bring self-driving cars to market the fastest. Executive Johann Jungwirth stated




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          building hardware and software is the recipe for success (c"'ource- Top Gear).




  Ford
     •    Exec states Ford deciding if they will develop maps on their own or find a strategic partner: Aspiring to SAE Level 4
          autonomy by 2020, Ford Chief of Product Raj Nair said in an interview that the questions remains unanswered whether they
          will source maps from a partner or develop in-house ($_Qyr_c,:_e____~__!_l_zt_{Qf!l__QfL\J_e__l'ff}1J_,~).
     •    Testing in Phoenix, AZ in Summer 2016 marks first leap into urban environments: Highlighting a decade's worth of
          experience in autonomous vehicle technology, Ford will bring its expertise to downtown Phoenix streets to test urban
          environments and scenarios in Summer 2016 (Source- 12 News).
     •    VP confirms 100 people working in Silicon Valley lab: Ken Washington, Ford VP of Advanced Engineering, said their
          Silicon Valley lab has 100 employees and has met with 200 valley startups (.S'ource- Mirror).




  Faraday Future
     •    Former executive indicates first Faraday car will be 'no Tesla killer', priced high: A former Faraday executive leaked
          that Faraday's first car won't be a 'Tesla killer,' and instead said it would be much larger and heavier - in both weight and
          cost at around $150,000 (Source- Road and Track).
     •    Faraday Future commits to securing bonds and providing additional funding: Amidst Nevada skepticism about
          Faraday's financial stability, the company secured a surety bond of up to $75Ml\tf and deposited $13MJVI into escrow
          accounts for constmction of water and rail facilities (Source- Las Vegas Review-Journal).
     •    Faraday loses battery architect; other former executives speculate on technology licensing: Chief Battery Architect
          Porter Harris, referred to as 'the battery', quit this January (,':;ource- The Guardian).




  Tesla
     •    Morgan Stanley identifies Tesla as best positioned for shared mobility in recent report: According to Morgan Stanley,
          Tesla is well-positioned for shared mobility due to battery capabilities, car design, autonomous tech, and that 100 percent of
          its current fleet is connected to the intemet (Source- LearnBonds).
     •    MIT Technology Review names Tesla's Autopilot a 'Breakthrough Technology' for 2016: For Tesla to be considered
          among the 10 top breakthrough technologies, the technolot,>y needed to "have a chance at solving a big problem" and open
          new opportunities (Source- Fox Business).
     •    Motley Fool Analyst tests Autopilot on 61-mile stretch of Colorado highway: For 61 miles of highway, analyst Daniel
          Sparks only touched vehicle controls to signal a lane change (Source- The Motley Fool).




     1.   Testing, grant competition, and mobility solutions top of mind for US cities:
              • Los Angeles: Chris Urmson, head of Google's self-driving car project, spoke as a part of the LA Times'
                   California Conversation series to 250 people on the future of autonomy (,S'ource- LA Times).
              • Ann Arbor+ NYC: GM executives announced that car-sharing service, Maven, will be available to everyone
                   in Ann Arbor to utilize 35 cars ranging in price from $6-$12 per hour (Source- MLive). In addition, Maven is
                   expanding their resident car sharing program to two additional Stonehenge Real Estate residential buildings
                   in NYC, totaling three today (Source- PR Newswire).
              • Lincoln: As a part of the US Department of Transportation's 'Smart City Challenge', Lincoln, NE is
                   competing alongside 77 other mid-sized cities for a $40M grant (Source -1011 Nmv) (Full List).
              • Palo Alto: Stanford's 'Shelley'- a retro-fitted Audi TT-S- is testing at Thunderhill Raceway in Willows, CA
                   at speeds of 50-75 mph, with the ability to go over 110 mph (Source- The Stanford Dailv).
              • Denver: Amidst competing for the 'Smart City Challenge' grant for $40M, Denver is working with The
                   Rocky Mountain Institute to study autonomous vehicles (Source- Colorado Public Radio) (Full List).




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     2.   International markets continue push to develop autonomous car technology:
              • China: Nevijo Mance, VP of BMW China, pinpoints China as the dominant market for autonomous driving
                  technology after partnering with Baidu and testing in China ~"}ource - China Dailv).
              • Yorkshire, UK: Control Fl, a six-person team based in the UK, will develop data collection systems for AVs
                  to integrate event data, weather reports, and route planning (Source- The Yorkshire Post).
              • India: Dr. Roshy John configured sensors on top of a rear-engine Tata Nano to develop a self-built
                  autonomous car (Source- Deccan Chronicle).


     3.   Zipcar prepares business model to integrate with self-driving cars: Nichole Mace, VP of Product and Member
          Experience for Zipcar, told the Boston Herald, "We are in the mix as much as anyone could be," in response to questions on
          autonomous cars. Zipcar has worked with Ford, GM, and Toyota (,~'q__y_r_c;_c;___:_F9_t/z_E!_,~).


     4.   Goodyear unveils 'concept tires' for autonomous vehicles at Geneva International Motor Show: Two concept tires -the
          Eagle-360 and Intelligrip -are designed with self-driving cars in mind. The Eagle-360 would rely on magnetic levitation for
          ultimate maneuverability, while the Intelligrip would communicate road and weather conditions to the vehicle for increased
          safety ~~·q__y_r_c;_c;___:__ f_J]__lj_E!_l_i §.lV._itf!.).
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     5.   Kia leading Hyundai Motor Group's charge into self-driving cars through 'DRIVE WISE' sub-brand: KIA 'DRIVE
          WISE' will develop current and future ADAS teclmology with the goal of manufacturing partially autonomous vehicles by
          2020 and fully autonomous vehicles by 2030 (Source- Just Auto).


     6.   AAA survey indicates that 75% of people would not feel safe in an autonomous vehicle: In an 1,800 person survey
          conducted by AAA, 75% of participants would not feel safe in an autonomous vehicle, but 60% of participants said they want
          autonomous features in their next car (Source- Fortune).


     7.   Continental acquires Hi-Res 3D Flash LIDAR business from Advanced Scientific Concepts, Inc. (ASC): Acquiring for
          an undisclosed price. ASC's LJDAR business will bolster Continental's ADAS capabilities with its real-time machine vision
          and environmental mapping. Engineers from ASC will join the Chassis & Safety Division at Continental, based in Santa
          Barbara (S'ource -Automotive World).




    "For thefirst time in history, older people are going to be the lifestyle leaders of a new technology" -Joseph
                               Coughlin, Director ofMIT's AgeLab, on self-driving cars




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